#           Case 2:10-cr-00492-GMN-GWF             Document 46     Filed 07/28/11      Page 1 of 2
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    6                              UNITED STATES DISTRICT CO URT
    7                                      DISTRICT O F NEVADA

    8 UNI'I'ED STATESOF AM ERICA,                        )
                                                         )
    9                         Plaintiff,                 )
                                                         )
    10          v.                                       )         2:1O-CR-491-GM N-PAL
                                                         )        Z :10-CR-492-GMN-GWF
    ll ERIC HERRJNGTON,                                  )
                                                         )
    12                        Defendant.                 )
    13                                FINAL ORDER O F FORFEITURE
    14          O n April20,2011,the U nited States D istrictCourtfor the D istrict ofN evada entered a

    15 PreliminaryOrderofForfeiturepursuanttoFed.R.Crim-P.32.2(b)(l)and(2);Title 18,United
    16 StatesCode,Section 922(g)(1);Title 18,United StatesCode,Section 924 (d)(1),and Title28,
    17 United States Code, Section 246l(c), based upon the plea of guilty by defendant ERIC
    18 HERRJNGTON to a crim inaloffense,forfeiting specitic property alleged in the Indictmentand
    l9 agreed toin thePleaM em orandum andshown bytheUnited Statesto havearequisitenexusto the

    20 offenseto which defendantERIC HERRINGTON pled guilty.Docket#1,#21,#22,8/24.
    21          This Courttinds the United States ofAmerica published the notice of the forfeiture in

    22 accordance with the law via the officialgovernmentinternetforfeiture site,w ww.forfeiture.gov,
    23 consecutively from April24,2O1l,through to M ay 23,2011,notifying al1know n third parties of

    24 their rightto petition the C ourt.#25.
    25          This Courtfindsno petition wasliled herein by ortm behalfofany person orenlity and the

    26 tim e forfiling suoh petitions and claim s has expired.
             Case 2:10-cr-00492-GMN-GWF            Document 46      Filed 07/28/11   Page 2 of 2

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    l           ThisCourtfindsnopetitionsarependingwithregard totheassetsnamedhereinandthetime

    2 forpresenting such petitionshasexpired.
    3          THEREFORE,IT IS HEREBY ORDERED,ADJUDGED,AND DECREED thatalIright,
    4 title,and interestin theproperty hereinafterdescribed iscondem ned,forfeited,and vested in the

    5 United StatesofAmericapursuantto Fed.R.Crim.P.32.2(b)(4)(A)and (B);Fed.R.Crim.P.
    6 32.2(c)(2);Title18,UnitedStatesCode,Section922(g)(1);Title 18,UnitedStatesCode,Section
    7 924(d)(1),Title28,UnitedStatesCode,Section2461(c);andTitle21,UnitedStatesCode,Section
    8 853(n)(7)andshal'
                      lbedisposed ofaccordingtolaw:
    9                          a M ossberg,M odel500,lz-gauge shotgun,serial

    10                         num berK 541441;and
    11                 b.      aRem ington,M odel700,30-06-ca1iberrifle,serialnumberE6396614.
    12          IT IS FU RTHER ORD ERED ,A DJUD GED ,A N D DECR EED thatany and allforfeited

    13 funds,including butnotlim ited to,currency,currency equivalents,certificatesofdeposit,aswell

    14 asany income derived asa resultofthe United States ofAm erica'sm anagementofany property
    15 forfeited herein,and the proceeds from the sale of any forfeited property shallbe disposed of

    16 according to law .
    l7          The Clerk ishereby directed to send copiesofthisOrderto al1counselofrecord and three

    l8 certilied copies to the U nited States Attorney's Office.
    19          DATED this               dayof                     ,20

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    21                                               LIN ITED ST         STRICT JU DG E

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